 Case 1:13-cr-00261   Document 68   Filed 10/10/14   Page 1 of 4 PageID #: 214



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD



UNITED STATES OF AMERICA



v.                                       CRIMINAL NO. 1:13-00261-02

TASHAEY MITCHELL JONES


                      MEMORANDUM OPINION AND ORDER

        In Bluefield, on October 8, 2014, came the defendant Tashaey

Mitchell Jones, in person and by counsel, John Clark Anderson, II,

Esquire, and came the United States by John L. File, Assistant United

States Attorney, for the purpose of considering the defendant=s plea

of guilty to Count Three of the Indictment charging her with aiding

and abetting the distribution of a quantity of hydromorphone, in

violation of 21 United States Code, Section 841(a)(1) and 18 United

States Code, Section 2.     Brett S. Taylor, Senior Probation Officer

appeared on behalf of the United States Probation Department.

        The court inquired of the defendant, addressing her

personally and by counsel, to determine the competency of the

defendant to proceed.     The court found the defendant competent.

        The court informed the defendant of the maximum penalties

to which she will be exposed by virtue of her plea of guilty and

defendant acknowledged her understanding of the same.
  Case 1:13-cr-00261   Document 68   Filed 10/10/14   Page 2 of 4 PageID #: 215



         The court next inquired as to the defendant=s plea and the

defendant responded that she intended to plead guilty.              The court

explained the range of penalties to which the defendant would be

exposed by virtue of her guilty plea.        The court also explained the

statutes under which this action is prosecuted and the elements which

the United States would have had to prove, beyond a reasonable doubt,

had the matter been tried.    The Assistant United States Attorney then

stated the factual basis establishing that the defendant committed

the offense to which she was pleading guilty.         The defendant admitted

that the factual basis as stated was substantially true.

         The court further informed the defendant, pursuant to the

requirements of Rule 11 of the Federal Rules of Criminal Procedure,

of the constitutional and other rights she would waive by pleading

guilty to the count in the indictment.      The court then determined that

the defendant understood those rights.          The court advised the

defendant that she could not withdraw her plea if she was dissatisfied

with the sentence rendered.

         The court inquired of the defendant personally as to whether

any threats or promises had been made to her to induce her to plead,

whether any predictions were made regarding the sentence she might

receive, and whether she had any second thoughts about entering a plea

of guilty, to which questions the defendant responded in the negative.




                                      2
  Case 1:13-cr-00261   Document 68   Filed 10/10/14   Page 3 of 4 PageID #: 216



         Based upon the defendant=s plea of guilty, as well as her

factual admission of guilt, the court found that there existed a

factual and legal basis for the defendant=s plea of guilty.         Based upon

the United States= proffer of evidence against the defendant, the court

found that there also existed an independent factual basis for the

defendant=s plea of guilty.      The court further found that the

defendant tendered her plea of guilty voluntarily and with a full

understanding and awareness of the constitutional and other rights

which she gives up by pleading guilty, and with an awareness of what

the United States would have to prove against her if the case went

to trial.   The court further found that the defendant had an

appreciation of the consequences of her plea and accepted the

defendant=s plea of guilty.

         Pursuant to Sentencing Guideline ' 6B1.1(c), the court

deferred an adjudication of guilt pending receipt of the presentence

investigation report.      Accordingly, the court adjudges and the

defendant now stands provisionally guilty of Count Three of the

Indictment.

         The court scheduled the disposition of this matter for

February 5, 2015, at 10:30 a.m., in Bluefield.            The Probation

Department is directed to conduct a presentence investigation in this

matter and to provide a report to this court.            Unless otherwise




                                     3
  Case 1:13-cr-00261   Document 68   Filed 10/10/14   Page 4 of 4 PageID #: 217



directed by this court, the probation officer is not to disclose the

officer=s sentencing recommendation to anyone except the court.

         Because the court could not find that defendant was not a

flight risk, her bond was revoked and she was remanded to the custody

of the United States Marshal.

         The Clerk is directed to send a copy of this Memorandum Opinion

and Order to counsel of record, the United States Marshal for the

Southern District of West Virginia and the Probation Office of this

court.

         IT IS SO ORDERED this 10th day of October, 2014.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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